989 F.2d 484
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.Fortunato LOPES, Plaintiff, Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant, Appellee.
    No. 92-1734.
    United States Court of Appeals,First Circuit.
    March 22, 1993
    
      Appeal from the United States District Court for the District of Massachusetts
      Richard W. Lubart on brief for appellant.
      A. John Pappalardo, United States Attorney, and William L. Parker, Special Assistant United States Attorney, on brief for appellee.
      D.Mass.
      AFFIRMED.
      Before Breyer, Chief Judge, Torruella and Cyr, Circuit Judges.
      Per Curiam.
    
    
      1
      Attorney Richard Lubart, having obtained an award of Social Security benefits for his client (the plaintiff here), challenges an award of attorney's fees under § 206(b) of the Social Security Act, 42 U.S.C. § 406(b).  The district court ordered that the entire § 206(b) award of $4,353.25 be remitted by Lubart to his client, given the fact that a larger fees award had previously been granted to Lubart under the Equal Access to Justice Act (EAJA), 28 U.S.C. § 2412(d).  See, e.g., Pub. L. No. 99-80, § 3, 99 Stat. 186, amending Pub. L. No. 96-481, § 206 (codified as note to 28 U.S.C. § 2412) ("where the claimant's attorney receives fees for the same work under both [§ 206(b) and EAJA], the claimant's attorney [shall] refund[ ] to the claimant the amount of the smaller fee").1  Lubart now argues that he should be permitted to retain $304.43 of this award for himself-an amount corresponding to 2.5 hours which, he states, were not included in the earlier EAJA award.  This argument fails for several reasons.
    
    
      2
      Lubart misconceives the nature of the EAJA offset provision.  As would appear plain from the statutory language quoted above, this mechanism requires simply that the smaller of the two fees awards be remitted to the client.  The House Report accompanying the 1985 enactment made the point even more clearly:
    
    
      3
      [T]he EAJA award should be used as a set off to reduce the payment which the claimant would otherwise owe the attorney.  Thus, ... an attorney for a Social Security or SSI claimant would be precluded from receiving both EAJA and Social Security Act fees.  Without this amendment it was argued, "double dipping" was possible.  Such double payments are inappropriate and deprive[ ] the plaintiff of the benefits intended by EAJA.... [T]he attorney [is permitted] to seek recovery under both authorizations.  The attorney, however, may keep the larger fee, but must return the amount of the smaller fee to the claimant.
    
    
      4
      H. Rep.  No. 99-120, at 20, reprinted in 1985 U.S.C.C.A.N. 132, 148-49 (emphasis added).  See, e.g., Trinidad v.  Secretary of HHS, 935 F.2d 13, 16 (1st Cir. 1991) (per curiam) ("double recovery is prevented in that the attorney must refund the amount of the smaller fee to the claimant"); Russell v.  Sullivan, 930 F.2d 1443, 1446 (9th Cir. 1991); Lopez v.  Sullivan, 882 F.2d 1533, 1537-38 (10th Cir. 1989); Wells v.  Bowen, 855 F.2d 37, 42 (2d Cir. 1988).  We find nothing in the statutory language or history or in the case law to suggest that a court is required to take the additional steps proposed by Lubart-i.e., to parse the EAJA and § 206(b) applications on an hour-by-hour basis and remit to the client only that portion of the smaller fee which is encompassed by the larger.
    
    
      5
      Moreover, even if such an undertaking might be appropriate in other contexts, it plainly was unwarranted here.  Of the 2.5 hours in question, 1.5 were devoted to preparation of the § 206(b) application.  Time spent on preparing and litigating a § 206(b) application is not compensable.  See, e.g., Craig v.  Secretary of HHS, 864 F.2d 324, 328 (4th Cir. 1989);  Coup v.  Heckler, 834 F.2d 313, 325 (3d Cir. 1987).  The government objected to the application on this ground (without rebuttal by Lubart), and it can be fairly assumed that such time was not included in the district court award.2  The remaining hour was devoted to settlement of the earlier EAJA application.  In contrast to § 206(b), such time is compensable under EAJA.   See, e.g., Commissioner of INS v. Jean, 496 U.S. 154 (1990);  Trinidad, 935 F.2d at 17.  Given that Lubart and the government reached a settlement as to the appropriate EAJA award (which afforded Lubart 63 percent of his initial request), it cannot be said with certainty that this time was not encompassed therein.  The fact that Lubart chose not to include it in the EAJA request provides no warrant for reducing the amount of reimbursement to his client.
    
    
      6
      Finally, we note that Lubart failed to raise this specific argument before the district court.  In two separate submissions, he advanced two separate theories for withholding a portion of the remittance from his client.  The theory he now proffers, however, was not one of them.  See, e.g., Mariani v. Doctors Associates, Inc., No. 92-1843, slip op. at 7 n. 4 (1st Cir.  Jan. 11, 1993) ("We have repeatedly warned that we will not entertain arguments made for the first time on appeal.")
    
    
      7
      Affirmed.
    
    
      
        1
         As we explained in  Trinidad v. Secretary of HHS, 935 F.2d 13, 16 (1st Cir. 1991) (per curiam):  "An award of fees under [§ 206(b) ] is deducted from the claimant's disability benefits, whereas an EAJA award is paid separately by the government."  It is for this reason that an attorney may request fees under both provisions;  "the EAJA compensation ... serves as a reimbursement to the claimant for fees paid out of the disability award."  Id
      
      
        2
         As requested by Lubart, the district court simply awarded a flat sum (equivalent to 25 percent of claimant's past-due benefits, see § 206(b), less the amount awarded therefrom under § 206(a) for counsel's work before the agency).  This circumstance made it unnecessary to specify the number of hours or the hourly rate
      
    
    